        Case 21-03442 Document 75 Filed in TXSB on 11/23/21 Page 1 of 2




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                    §     Case No. 19-33347
VERT SOLAR FINANCE, LLC,                  §
                                          §     Chapter 7
      Debtor.                             §
                                          §     Judge Jeffrey P. Norman
_____________________________________________________________________________
EVA S. ENGELHART, CHAPTER 7,              §
TRUSTEE,                                  §
                                          §
      Plaintiff,                          §
                                          §
VS.                                       §     Adversary No. 21-03442
                                          §
JOAQUIN ALTENBERG,                        §
CLEAN ENERGY NEXUS, LLC,                  §
CEN JUNCOS SOLAR, LLC,                    §
VERT INVESTMENT GROUP, LLC,               §
and ALISON ALTENBERG,                     §
                                          §
              Defendants.                 §

                          APPELLEES’ DESIGNATION
                OF ITEMS TO BE INCLUDED IN RECORD ON APPEAL

       Appellees Joaquin Altenberg, Clean Energy Nexus, LLC, VERT Investment Group, LLC,

and Alison Altenberg, Defendants in this adversary proceeding, pursuant to Federal Rule of

Bankruptcy Procedure 8009(a), hereby designate the following items to be included in the record

on appeal, in addition to those items already designated by the Appellant:

  Date Filed      Docket No.                              Description
   6/11/2021          1         Trustee’s Original Complaint
  07/10/2021          7         Defendants’ Answer to Trustee’s Original Complaint
  07/10/2021          8         Defendants’ Motion to Dismiss Pursuant to Fed.R.Civ.P. 12(b)(6)
  07/12/2021         11         Defendant CEN Juncos Solar, LLC’s (I) Motion to Dismiss
                                Trustee’s Original Complaint Pursuant to Fed. R. Civ. P. 8, 9(B),
                                and 12 (B)(6) and Incorporated Memorandum of Law and (II)
                                Statement of Non-Consent Pursuant to Fed. R. Bankr. P. 7012(B)
                                and Local Rule 7012-1


                                        1
        Case 21-03442 Document 75 Filed in TXSB on 11/23/21 Page 2 of 2




  08/05/2021          32        Order Granting Motion of Crain, Caton & James, P.C. to Withdraw
                                as Counsel for Defendant CEN Juncos Solar, LLC
  08/10/2021          35        Trustee’s Response to Defendants’ [Corrected] Motion to Dismiss
                                Pursuant to Fed.R.Civ.P. 12(B)(6)
  08/12/2021          36        Order Granting Motion to Dismiss
  08/12/2021          37        Order Granting Motion to Dismiss


                                     Respectfully submitted,

                                     By: /s/ Michelle V. Friery
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                                     ATTORNEYS FOR DEFENDANTS JOAQUIN
                                     ALTENBERG, CLEAN ENERGY NEXUS, LLC,
                                     VERT INVESTMENT GROUP, LLC, and ALISON
                                     ALTENBERG


                                CERTIFICATE OF SERVICE

        I hereby certify that on November 23, 2021, a true and correct copy of the foregoing
Appellees’ Designation of Items to be Included in Record on Appeal has been forwarded by ECF
electronic service to the attorneys for the Appellant/Plaintiff, the United States trustee and all
parties requesting notice.

                                                /s/Michelle V. Friery
                                                Michelle V. Friery




                                        2
